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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 M.P. MOON, individually and as                     )
 representative of a class of participants and      )
 beneficiaries in and on behalf of the DuPont       )
 Pension and Retirement Plan,                       )
                                                    )
                         Plaintiff,                 )
                                                    )
         v.                                         ) C.A. No. 19-1856 (MN)
                                                    )
 CORTEVA, INC., DUPONT de                           )
 NEMOURS, INC., U.S. DUPONT                         )
 PENSION AND RETIREMENT PLAN,                       )
 THE ADMINISTRATIVE COMMITTEE,                      )
 E.I. DU PONT DE NEMOURS AND                        )
 COMPANY AND THE DUPONT                             )
 BENEFITS PLANS ADMINISTRATIVE                      )
 COMMITTEE ,                                        )
                                                    )
                         Defendants.                )

                                               ORDER
        At Wilmington this 29th day of September 2020:

        WHEREAS, on October 2, 2019, Plaintiff filed the present action against Defendants under

29 U.S.C. § 1132(a)(1)(B), which codifies Section 502(a)(1)(B) of the Employee Retirement

Income Security Act (“ERISA”) and which allows a participant to bring an action “to recover

benefits due to him under the terms of his plan, to enforce his rights under the terms of the plan,

or to clarify his rights to future benefits under the terms of the plan” (D.I. 1 ¶¶ 1, 41);

        WHEREAS, on December 16, 2019, Defendants filed a motion to dismiss the Complaint

under Rule 12(b)(6) of the Federal Rules of Civil Procedure and that motion indicates there is

some confusion as to what claims Plaintiff is asserting (see D.I. 7 & 8);
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        WHEREAS, on February 13, 2020, Plaintiff responded that it “has not made a claim for

individualized benefits under ERISA § 502, nor a claim for Misrepresentation under ERISA

§ 502(a)(3), nor a claim for Equitable Estoppel under ERISA § 502(a)(1)(B)” (D.I. 16 at 4); and

        WHEREAS, the Court has reviewed the Complaint and the briefing (D.I. 1, 8, 16 & 17)

and the Court finds that there is significant confusion as to what claims are asserted in the

Complaint and, further, that it is not clear what statutory (or other) authority forms the basis for

the claims that Plaintiff is attempting to assert. 1

        THEREFORE, IT IS HEREBY ORDERED that Defendants’ motion to dismiss (D.I. 7) is

GRANTED and the Complaint is dismissed without prejudice. IT IS FURTHER ORDERED that

Plaintiff shall be given twenty-one (21) days to file an amended complaint, along with a redline

comparing the amended complaint to the original Complaint. IT IS STILL FURTHER ORDERED

that, in any such amended complaint, Plaintiff shall make clear what claims are being asserted and

what statutory (or other) authority forms the basis for each of its asserted claims.




                                                           The Honorable Maryellen Noreika
                                                           United States District Judge




1
        This confusion is compounded by Plaintiff’s opposition to the motion to dismiss, where
        Plaintiff largely sidestepped any explanation or defense of the claims at issue and instead
        focused on pointing out the types of claims that were not asserted. (See, e.g., D.I. 16 at 4).


                                                       2
